                            IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION


                                  JUDGMENT IN A CIVIL CASE



MICHELLE HARRIS,                 )
                                 )
          Plaintiff,             )
                                 )                     Case No.: 20-cv-00767-SRB
v.                               )
                                 )
NATIONAL CREDIT ADJUSTERS, LLC., )
                                 )
                  Defendant.     )

    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
the jury has rendered its verdict.

 X Decision by Court. This action came before the Court. The issues have been determined and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that

Plaintiff’s Motion to Show Cause Opposing Proposed Sanctions (Doc. #13) is DENIED. This
case is hereby DISMISSED WITHOUT PREJUDICE. Plaintiff’s counsel shall mail a copy of
this Order to Plaintiff’s last known address.


May 4, 2021                                            Paige Wymore-Wynn
Date                                                   Clerk of Court

                                                       /s/ Tracey L. Richard
                                                       (by) Deputy Clerk




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